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                                                                               FILED
                                                                                   JUN 15 2017
                 IN THE UNITED STATES DISTRICT COURT                          Clerk, U S District Court
                     FOR THE DISTRICT OF MONTANA                                District Of Montana
                                                                                      ~!lings
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                    CR 16-107-BLG-SPW-7

                         Plaintiff,

           vs.                                ORDER

 CHRISTINA KAMRAN-
 KOHNJANI aka Christina Dawn
 Schreibeis,

                         Defendant.




      Pending before the Court is the motion of the United States to unseal

Documents 144, 144-2, 145, 151, 151-1, 152, and 154 solely for the purpose of

providing those documents in discovery in the matter of United States v.

Christopher Ray Metzger, CR 17-46-BLG-SPW (Doc. 202).         Defendant has failed

to respond to this Motion.   Therefore,

      IT IS HEREBY ORDERED that pursuant to C.R. L.R 47.2(b), the United

States' Motion is GRANTED.       Documents 144, 144-2, 145, 151, 151-1, 152, and



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154 in the above case are UNSEALED so that they can be provided in discovery in

United States v. Christopher Ray Metzger, CR 17-46-BLG-SPW.

     DATED this    /0~day of June, 2017.

                                    Lc::_w~
                                   .?§USANi.WATTERS
                                    United States District Judge




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